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                                   2                                   UNITED STATES DISTRICT COURT

                                   3                                 NORTHERN DISTRICT OF CALIFORNIA

                                   4
                                            EDUARDO I.T., et al.,
                                   5                                                          Case No. 4:22-cv-05333-DMR

                                   6                                   Plaintiffs,            STIPULATED PROTECTIVE ORDER

                                   7               v.

                                   8        UNITED STATES OF AMERICA,
                                   9
                                                                       Defendant.
                                  10

                                  11
                                       1.       PURPOSES AND LIMITATIONS
                                  12
Northern District of California
 United States District Court




                                                Disclosure and discovery activity in this action are likely to involve production of
                                  13
                                       confidential, proprietary, or private information for which special protection from public disclosure
                                  14
                                       and from use for any purpose other than prosecuting this litigation may be warranted. Accordingly,
                                  15
                                       the parties hereby stipulate to and petition the court to enter the following Stipulated Protective
                                  16
                                       Order. The parties acknowledge that this Order does not confer blanket protections on all disclosures
                                  17
                                       or responses to discovery and that the protection it affords from public disclosure and use extends
                                  18
                                       only to the limited information or items that are entitled to confidential treatment under the
                                  19
                                       applicable legal principles. The parties further acknowledge, as set forth in Section 12.3, below, that
                                  20
                                       this Stipulated Protective Order does not entitle them to file confidential information under seal;
                                  21
                                       Civil Local Rule 79-5 sets forth the procedures that must be followed and the standards that will be
                                  22
                                       applied when a party seeks permission from the court to file material under seal.
                                  23
                                       2.       DEFINITIONS
                                  24
                                                2.1     Challenging Party: a Party or Non-Party that challenges the designation of
                                  25
                                       information or items under this Order.
                                  26
                                                2.2     “CONFIDENTIAL” Information or Items: information (regardless of how it is
                                  27
                                       generated, stored or maintained) or tangible things that qualify for protection under Federal Rule of
                                  28
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 1   Civil Procedure 26(c) and that are designated confidential by the Producing Party because of a good

 2   faith belief that the information is:

 3               (a) a trade secret or other confidential research, development, or commercial

 4   information as such terms are used in Federal Rule of Civil Procedure 26(c)(1)(G);

 5               (b) personal financial, medical or other private information relating to an individual

 6   that would properly be redacted from any public court filing pursuant to Federal Rule of Civil

 7   Procedure 5.2., including any document, information, or tangible thing protected by the provisions

 8   of the Family and Educational Rights and Privacy Act, 20 U.S.C. § 1232g, 34 C.F.R. Part 99;

 9   certain individually identifiable health information (defined as health information that is connected

10   to a patient’s name, address, Social Security number, or other identifying number, including

11   Health Insurance Claim (HIC) number) that may be subject to the provisions of the Privacy Act, 5

12   U.S.C. § 552a; the provisions of 45 C.F.R. §§ 164.102-164.534 (regulations promulgated pursuant

13   to the Health Insurance Portability and Accountability Act (HIPAA)); or health information for

14   which there may be no waiver by the patient to produce the records to an entity outside one of the

15   Parties;

16               (c) information protected by the provisions of the Privacy Act of 1974, 5 U.S.C § 552a;

17               (d) information contained in individual detainee files (e.g., “A Files”) that would be

18   protected by the Privacy Act or any other information or documents that would be covered by the

19   Privacy Act if the subject of the information had been a U.S. citizen or a person lawfully admitted

20   for permanent residence;

21               (e) plaintiffs’ administrative claims (Standard Form 95 or “SF-95”) and attachments to

22   those claims;

23               (f) sensitive information about Defendant’s law enforcement or national security

24   staffing, resources, intelligence and/or methods (including the names and contact information of

25   third parties, and non-supervisory federal and non-federal employees), the release of which to the

26   public may adversely impact identifiable law enforcement or national security interests;

27               (g) information pertaining to applications for asylum or withholding of removal,

28   protection under the Convention against Torture, or claims of credible or reasonable fear, which
                                                       2
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 1   are subject to disclosure conditions under 8 C.F.R. §§ 208.6, 1003.27(c) and 1208.6(a), as well as

 2   information pertaining to: (1) applications for Temporary Protected Status under 8 U.S.C. §

 3   1254a; and (2) information that relates to an alien who is the beneficiary of an application for

 4   relief under 8 U.S.C. §§ 1101(a)(15)(T), (15)(U), (51) or 1229b(b)(2); and

 5                (h) any other information that is protected or restricted from disclosure by Court order,

 6   statutes, rules or regulations, including, but not limited to: 8 U.S.C. §§ 1160(b)(5); 1186a(c)(4),

 7   1202(f), 1254a(c)(6), 1255a(c)(4), (5); 1304(b), and 1367(a)(2), (b), (c), (d); 22 U.S.C. §

 8   7105(c)(1)(C); 8 C.F.R. §§ 208.6, 210.2(e), 214.11(e), 214.14(e), 216.5(e)(3)(viii), 236.6, 244.16,

 9   245a.2(t), 245a.3(n), 245a.21, 1003.27(b)-(d), 1003.46, 1208.6, 28 C.F.R. § 0.29f, which

10   otherwise could subject either party to civil or criminal penalties or other sanctions in the event of

11   unauthorized disclosure.

12                (i) To the extent that discoverable information about any Plaintiff is covered by the

13   disclosure of information provisions of 8 U.S.C. §1367(a)(2), the Defendant is ordered to release it

14   to the Plaintiffs, their attorney(s) and related personnel assisting in their case, and any Court

15   involved in this or related proceedings and its personnel as confidential information, despite the

16   limits on disclosure contained in that provision.

17          2.3      Counsel: Counsel of Record for Plaintiffs and Defendant and, for Defendant, Counsel

18   for the applicable federal Departments and Agencies (as well as their support staff).

19          2.4      Designating Party: a Party or Non-Party that designates information or items that it

20   produces in disclosures or in responses to discovery as “CONFIDENTIAL.”

21          2.5      Disclosure or Discovery Material: all items or information, regardless of the medium

22   or manner in which it is generated, stored, or maintained (including, among other things, testimony,

23   transcripts, and tangible things), that are produced or generated in disclosures or responses to

24   discovery in this matter.

25          2.6      Expert: a person with specialized knowledge or experience in a matter pertinent to the

26   litigation who has been retained by a Party or its counsel to serve as an expert witness or as a

27   consultant in this action.

28          2.7      [N/A]
                                                         3
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 1            2.8      Non-Party: any natural person, partnership, corporation, association, or other legal

 2   entity not named as a Party to this action.

 3            2.9      [N/A]

 4            2.10     Party: any party to this action, including all of its employees, consultants, retained

 5   experts, and Counsel of Record (and their support staffs).

 6            2.11     Producing Party: a Party or Non-Party that produces Disclosure or Discovery

 7   Material in this action.

 8            2.12     Professional Vendors: persons or entities that provide litigation support services (e.g.,

 9   photocopying, videotaping, translating/interpretation, preparing exhibits or demonstrations, and

10   organizing, storing, or retrieving data in any form or medium) and their employees and

11   subcontractors.

12            2.13     Protected Material: any Disclosure or Discovery Material that is designated as

13   “CONFIDENTIAL.”

14            2.14     Receiving Party: a Party that receives Disclosure or Discovery Material from a

15   Producing Party.

16   3.       SCOPE

17                  (a) The protections conferred by this Stipulation and Order cover not only Protected

18   Material (as defined above), but also (1) any information copied or extracted from Protected

19   Material; (2) all copies, excerpts, summaries, paraphrases or compilations of Protected Material; and

20   (3) any testimony, conversations, or presentations by Parties or their Counsel that might reveal

21   Protected Material. However, the protections conferred by this Stipulation and Order do not cover

22   the following information: (i) any information that is properly in the public domain at the time of

23   disclosure to a Receiving Party or becomes part of the public domain after its disclosure to a

24   Receiving Party as a result of publication not involving a violation of this Order, including becoming

25   part of the public record through trial or otherwise; and (ii) any information known to the Receiving

26   Party prior to the disclosure or obtained by the Receiving Party after the disclosure from a source

27   who obtained the information lawfully and under no obligation of confidentiality to the Designating

28   Party.
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 1                 (b) This Stipulation and Order applies to discovery and pre-trial proceedings in this

 2   action, whether the Protected Material is produced by a party or by a person or entity who is not a

 3   party to this action (a “non-party”). This Order binds the parties and their respective agents,

 4   successors, personal representatives, and assignees. Any use of Protected Material at trial shall be

 5   governed by a separate agreement or order.

 6                 (c) If the Protected Material contains highly sensitive information, then the Parties may

 7   stipulate or the Producing Party may move for the establishment of an additional category of

 8   protection (e.g., Attorneys’ Eyes Only) that prohibits disclosure of such information in that category,

 9   or that limits disclosure only to specifically designated counsel, Party representative(s) whose

10   assistance is reasonably necessary to the conduct of these cases, and who agree to be bound by the

11   terms of the Order provided herein or as revised with respect to such information.

12                 (d) The Court finds that this Order is a “qualified protective order” within the meaning of

13   45 C.F.R. § 164.512(e)(1)(v). All patient identifiable information shall be designated “confidential”

14   using the process in Section C of this Protective Order and may be used or disclosed in accordance

15   with the terms of this Protective Order and 45 C.F.R. § 164.512(e)(1)(v).

16                 (e) Neither the termination of this action nor the termination of employment of any

17   person who has had access to any Protected Material shall relieve such person of his or her

18   obligations under this Protective Order, which shall survive.

19   4.      DURATION

20           Even after final disposition of this litigation, the confidentiality obligations imposed by this

21   Order shall remain in effect until a Designating Party agrees otherwise in writing or a court order

22   otherwise directs. Final disposition shall be deemed to be the later of (1) dismissal of all claims and

23   defenses in this action, with or without prejudice; and (2) final judgment herein after the completion

24   and exhaustion of all appeals, rehearings, remands, trials, or reviews of this action, including the

25   time limits for filing any motions or applications for extension of time pursuant to applicable law.

26   5.      DESIGNATING PROTECTED MATERIAL

27           5.1      Exercise of Restraint and Care in Designating Material for Protection. Each Party or

28   Non-Party that designates information or items for protection under this Order must take care to
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 1   limit any such designation to specific material that qualifies under the appropriate standards. The

 2   Designating Party must designate for protection only those parts of material, documents, items, or

 3   oral or written communications that qualify – so that other portions of the material, documents,

 4   items, or communications for which protection is not warranted are not swept unjustifiably within

 5   the ambit of this Order.

 6          Mass, indiscriminate, or routinized designations are prohibited. Designations that are shown

 7   to be clearly unjustified or that have been made for an improper purpose (e.g., to unnecessarily

 8   encumber or retard the case development process or to impose unnecessary expenses and burdens on

 9   other parties) expose the Designating Party to sanctions.

10          If it comes to a Designating Party’s attention that information or items that it designated for

11   protection do not qualify for protection, that Designating Party must promptly notify all other Parties

12   that it is withdrawing the mistaken designation.

13          5.2      Manner and Timing of Designations. Except as otherwise provided in this Order (see,

14   e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated or ordered, Disclosure or

15   Discovery Material that qualifies for protection under this Order must be clearly so designated

16   before the material is disclosed or produced.

17          Designation in conformity with this Order requires:

18                (a) For information in documentary form (e.g., paper or electronic documents, but

19   excluding transcripts of depositions or other pretrial or trial proceedings), that the Producing Party

20   affix the legend “CONFIDENTIAL” to each page that contains protected material. If only a portion

21   or portions of the material on a page qualifies for protection, the Producing Party also must clearly

22   identify the protected portion(s) (e.g., by making appropriate markings in the margins). To the extent

23   that documents produced in other district court actions subject to protective orders entered by those

24   courts (“Other District Court Actions”) are produced in this action, where pages marked

25   “CONFIDENTIAL” in the productions of these Other District Court Actions do not identify the

26   protected portions thereof, the parties shall meet and confer as necessary to address de-designating

27   any “CONFIDENTIAL” markings. Plaintiffs do not waive their rights to challenge the

28   confidentiality designations in specific documents produced from the Other District Court Actions.
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 1   Any challenges shall be governed by Section 6 of this Order.

 2   A Party or Non-Party that makes original documents or materials available for inspection need not

 3   designate them for protection until after the inspecting Party has indicated which material it would

 4   like copied and produced. During the inspection and before the designation, all of the material made

 5   available for inspection shall be deemed “CONFIDENTIAL.” After the inspecting Party has

 6   identified the documents it wants copied and produced, the Producing Party must determine which

 7   documents, or portions thereof, qualify for protection under this Order. Then, before producing the

 8   specified documents, the Producing Party must affix the “CONFIDENTIAL” legend to each page

 9   that contains Protected Material. If only a portion or portions of the material on a page qualifies for

10   protection, the Producing Party also must clearly identify the protected portion(s) (e.g., by making

11   appropriate markings in the margins).

12                 (b) for testimony given in deposition or in other pretrial or trial proceedings, that the

13   Designating Party identify on the record, before the close of the deposition, hearing, or other

14   proceeding, all protected testimony.

15                 (c) for information produced in some form other than documentary and for any other

16   tangible items, that the Producing Party affix in a prominent place on the exterior of the container or

17   containers in which the information or item is stored the legend “CONFIDENTIAL.” If only a

18   portion or portions of the information or item warrant protection, the Producing Party, to the extent

19   practicable, shall identify the protected portion(s).

20           5.3      Inadvertent Failures to Designate. If timely corrected, an inadvertent failure to

21   designate qualified information or items does not, standing alone, waive the Designating Party’s

22   right to secure protection under this Order for such material. Upon timely correction of a

23   designation, the Receiving Party must make reasonable efforts to assure that the material is treated in

24   accordance with the provisions of this Order.

25   6.      CHALLENGING CONFIDENTIALITY DESIGNATIONS

26           6.1      Timing of Challenges. Any Party or Non-Party may challenge a designation of

27   confidentiality at any time. Unless a prompt challenge to a Designating Party’s confidentiality

28   designation is necessary to avoid foreseeable, substantial unfairness, unnecessary economic burdens,
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 1   or a significant disruption or delay of the litigation, a Party does not waive its right to challenge a

 2   confidentiality designation by electing not to mount a challenge promptly after the original

 3   designation is disclosed.

 4            6.2    Meet and Confer. The Challenging Party shall initiate the dispute resolution process

 5   by providing written notice of each designation it is challenging and describing the basis for each

 6   challenge. To avoid ambiguity as to whether a challenge has been made, the written notice must

 7   recite that the challenge to confidentiality is being made in accordance with this specific paragraph

 8   of the Protective Order. The parties shall attempt to resolve each challenge in good faith and must

 9   begin the process by conferring directly (in voice to voice dialogue; other forms of communication

10   are not sufficient) within 14 days of the date of service of notice. In conferring, the Challenging

11   Party must explain the basis for its belief that the confidentiality designation was not proper and

12   must give the Designating Party an opportunity to review the designated material, to reconsider the

13   circumstances, and, if no change in designation is offered, to explain the basis for the chosen

14   designation. A Challenging Party may proceed to the next stage of the challenge process only if it

15   has engaged in this meet and confer process first or establishes that the Designating Party is

16   unwilling to participate in the meet and confer process in a timely manner.

17            6.3    Judicial Intervention. If the Parties cannot resolve a challenge without court

18   intervention, the Parties shall follow the procedures for resolving discovery disputes set forth in

19   Chief Magistrate Judge Donna M. Ryu’s standing order and present the dispute in a joint letter to the

20   court.

21   7.       ACCESS TO AND USE OF PROTECTED MATERIAL

22            7.1    Basic Principles. A Receiving Party may use Protected Material that is disclosed or

23   produced by another Party or by a Non-Party in connection with this case only for prosecuting,

24   defending, or attempting to settle this litigation. Such Protected Material may be disclosed only to

25   the categories of persons and under the conditions described in this Order. When the litigation has

26   been terminated, a Receiving Party must comply with the provisions of section 13 below (FINAL

27   DISPOSITION).

28            Protected Material must be stored and maintained by a Receiving Party at a location and in a
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 1   secure manner that ensures that access is limited to the persons authorized under this Order.

 2           7.2      Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise ordered by

 3   the court or permitted in writing by the Designating Party, a Receiving Party may disclose any

 4   information or item designated “CONFIDENTIAL” only to:

 5                 (a) the Receiving Party’s Counsel of Record in this action, as well as employees of said

 6   Counsel of Record to whom it is reasonably necessary to disclose the information for this litigation

 7   and who have signed the “Acknowledgment and Agreement to Be Bound” that is attached hereto as

 8   Exhibit A;

 9                 (b) the employees of the Receiving Party to whom disclosure is reasonably necessary for

10   this litigation and who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);

11                 (c) Any person with prior authorized access to the Confidential Information;

12                 (d) Experts (as defined in this Order) of the Receiving Party to whom disclosure is

13   reasonably necessary for this litigation and who have signed the “Acknowledgment and Agreement

14   to Be Bound” (Exhibit A);

15                 (e) the court (including any judicial officer to whom this Court may refer this matter for

16   settlement purposes) and its personnel;

17                 (f) court reporters and their staff, professional jury or trial consultants, mock jurors, and

18   Professional Vendors to whom disclosure is reasonably necessary for this litigation and who have

19   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);

20                 (g) during their depositions, witnesses in the action to whom disclosure is reasonably

21   necessary and who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A),

22   unless otherwise agreed by the Designating Party or ordered by the court. Pages of transcribed

23   deposition testimony or exhibits to depositions that reveal Protected Material must be separately

24   bound by the court reporter and may not be disclosed to anyone except as permitted under this

25   Stipulated Protective Order.

26                 (h) the author or recipient of a document containing the information or a custodian or

27   other person who otherwise possessed or knew the information.

28   8.      PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN OTHER
                                                          9
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 1            LITIGATION

 2            If a Party is served with a subpoena or a court order issued in other litigation that compels

 3   disclosure of any information or items designated in this action as “CONFIDENTIAL,” that Party

 4   must:

 5               (a) promptly notify in writing the Designating Party. Such notification shall include a

 6   copy of the subpoena or court order;

 7               (b) promptly notify in writing the party who caused the subpoena or order to issue in the

 8   other litigation that some or all of the material covered by the subpoena or order is subject to this

 9   Protective Order. Such notification shall include a copy of this Stipulated Protective Order; and

10               (c) cooperate with respect to all reasonable procedures sought to be pursued by the

11   Designating Party whose Protected Material may be affected.

12            If the Designating Party timely seeks a protective order, the Party served with the subpoena

13   or court order shall not produce any information designated in this action as “CONFIDENTIAL”

14   before a determination by the court from which the subpoena or order issued, unless the Party has

15   obtained the Designating Party’s permission. The Designating Party shall bear the burden and

16   expense of seeking protection in that court of its confidential material – and nothing in these

17   provisions should be construed as authorizing or encouraging a Receiving Party in this action to

18   disobey a lawful directive from another court.

19   9.       A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED IN THIS

20            LITIGATION

21               (a) The terms of this Order are applicable to information produced by a Non-Party in this

22   action and designated as “CONFIDENTIAL.” Such information produced by Non-Parties in

23   connection with this litigation is protected by the remedies and relief provided by this Order.

24   Nothing in these provisions should be construed as prohibiting a Non-Party from seeking additional

25   protections.

26               (b) In the event that a Party is required, by a valid discovery request, to produce a Non-

27   Party’s confidential information in its possession, and the Party is subject to an agreement with the

28   Non-Party not to produce the Non-Party’s confidential information, then the Party shall:
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 1                  (1) promptly notify in writing the Requesting Party and the Non-Party that some or all

 2   of the information requested is subject to a confidentiality agreement with a Non-Party;

 3                  (2) promptly provide the Non-Party with a copy of the Stipulated Protective Order in

 4   this litigation, the relevant discovery request(s), and a reasonably specific description of the

 5   information requested; and

 6                  (3) make the information requested available for inspection by the Non-Party.

 7              (c) If the Non-Party fails to object or seek a protective order from this court within 14

 8   days of receiving the notice and accompanying information, the Receiving Party may produce the

 9   Non-Party’s confidential information responsive to the discovery request. If the Non-Party timely

10   seeks a protective order, the Receiving Party shall not produce any information in its possession or

11   control that is subject to the confidentiality agreement with the Non-Party before a determination by

12   the court. Absent a court order to the contrary, the Non-Party shall bear the burden and expense of

13   seeking protection in this court of its Protected Material.

14   10.    UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

15          If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed Protected

16   Material to any person or in any circumstance not authorized under this Stipulated Protective Order,

17   the Receiving Party must immediately (a) notify in writing the Designating Party of the unauthorized

18   disclosures, (b) use its best efforts to retrieve all unauthorized copies of the Protected Material, (c)

19   inform the person or persons to whom unauthorized disclosures were made of all the terms of this

20   Order, and (d) request such person or persons to execute the “Acknowledgment and Agreement to

21   Be Bound” that is attached hereto as Exhibit A.

22   11.    INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE PROTECTED

23          MATERIAL

24          (a) Nothing herein shall be deemed or construed as a waiver of any applicable privilege, right

25   of privacy, or proprietary interest with respect to any information or item. When a Producing Party

26   gives notice to Receiving Parties that certain inadvertently produced material is subject to a claim of

27   privilege or other protection, the obligations of the Receiving Parties are those set forth in Federal

28   Rule of Civil Procedure 26(b)(5)(B).
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 1          (b) If a Receiving Party learns that, by inadvertence or otherwise, it, or a person to whom it

 2   has disclosed Confidential Information in accordance with this Protective Order, has disclosed

 3   Confidential Information to any person or in any circumstance not authorized under this Protective

 4   Order, the Receiving Party shall, upon learning of the unauthorized disclosure: (a) promptly notify

 5   the person(s) to whom the unauthorized disclosure was made that the unauthorized disclosure

 6   contains Confidential Information subject to this Protective Order; (b) promptly make all

 7   reasonable efforts to obtain the return of the Confidential Information and to prevent further

 8   unauthorized disclosures of the Confidential Information, including requesting the person who

 9   received the unauthorized disclosure to agree to be bound by the terms of this Protective Order by

10   executing a declaration in the form attached as Exhibit A; and (c) within five calendar days notify

11   the Producing Party and all other parties of the identity of the person(s) to whom the unauthorized

12   disclosure was made, the circumstances surrounding the disclosure, and the steps taken to prevent

13   any use or further disclosure of the Confidential Information that was the subject of the

14   unauthorized disclosure.

15          (c) This provision is not intended to modify whatever procedure may be established in an e-

16   discovery order that provides for production without prior privilege review. The parties have,

17   pursuant to Federal Rule of Evidence 502(d) and (e), reached an agreement on the effect of

18   disclosure of a communication or information covered by the attorney-client privilege or work

19   product protection, and that agreement, which the parties concurrently submit to the Court, is

20   incorporated into this stipulated protective order by reference.

21   12.    MISCELLANEOUS

22          12.1    Right to Further Relief. Nothing in this Order abridges the right of any person to seek

23   its modification by the court in the future.

24          12.2    Right to Assert Other Objections. By stipulating to the entry of this Protective Order

25   no Party waives any right it otherwise would have to object to disclosing or producing any

26   information or item on any ground not addressed in this Stipulated Protective Order. Similarly, no

27   Party waives any right to object on any ground to use in evidence of any of the material covered by

28   this Protective Order.
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 1          12.3    Filing Protected Material. Without written permission from the Designating Party or a

 2   court order secured after appropriate notice to all interested persons, a Party may not file in the

 3   public record in this action any Protected Material. A Party that seeks to file under seal any Protected

 4   Material must comply with Civil Local Rule 79-5. Protected Material may only be filed under seal

 5   pursuant to a court order authorizing the sealing of the specific Protected Material at issue. Pursuant

 6   to Civil Local Rule 79-5, a sealing order will issue only upon a request establishing that the

 7   Protected Material at issue is privileged, protectable as a trade secret, or otherwise entitled to

 8   protection under the law. If a Receiving Party's request to file Protected Material under seal pursuant

 9   to Civil Local Rule 79-5 is denied by the court, then the Receiving Party may file the information in

10   the public record pursuant to Civil Local Rule 79-5 unless otherwise instructed by the court.

11          12.4    Need to disclose in Open Court. If the need arises for any Party to disclose

12   Confidential Information in a proceeding in open Court or at any hearing or trial, it may do so only

13   after giving notice to the Producing Party, with such notice to be provided in not less than five (5)

14   business days prior to the hearing except upon a showing of good cause. Producing Party, after a

15   good faith effort to meet-and-confer, may seek additional relief from the Court. If the Court

16   schedules a hearing to occur less than five (5) business days from the date the hearing is

17   scheduled, the notice contemplated by this Section shall be accomplished within twenty-four (24)

18   hours, or as soon as practicable. The notice contemplated by this Section for purposes of a Party

19   who asserts the need to disclose Confidential Information at trial may be accomplished by

20   provision of a pre-trial exhibit list and resolution of any objection by the Court at a Pretrial

21   Conference. This Paragraph 12.4 does not apply to filing documents to the docket; such filings are

22   governed by Local Civil Rule 79-5.

23          12.5    Privacy Act. The United States is authorized to produce personal identifying

24   information contained within electronically stored information or hard copy documents. Any

25   electronically stored information or hard copy documents containing such personal identifying

26   information will be deemed Confidential Information, regardless of whether the electronically

27   stored information or hard copy documents are marked with a “CONFIDENTIAL – SUBJECT TO

28   PROTECTIVE ORDER” legend designating the information as Confidential Information.
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 1            12.6   Applicability to Parties Later Joined. If additional persons or entities become

 2   parties to this Action, they must not be given access to any Confidential Information until they

 3   execute and file with the Court their written agreement to be bound by the provisions of this

 4   Order.

 5   13.      FINAL DISPOSITION

 6            Within 60 days after the final disposition of this action, as defined in paragraph 4, each

 7   Receiving Party must return all Protected Material to the Producing Party or destroy such material.

 8   As used in this subdivision, “all Protected Material” includes all copies, abstracts, compilations,

 9   summaries, and any other format reproducing or capturing any of the Protected Material. Whether

10   the Protected Material is returned or destroyed, the Receiving Party must submit a written

11   certification to the Producing Party (and, if not the same person or entity, to the Designating Party)

12   by the 60 day deadline that (1) identifies (by category, where appropriate) all the Protected Material

13   that was returned or destroyed and (2) affirms that the Receiving Party has not retained any copies,

14   abstracts, compilations, summaries or any other format reproducing or capturing any of the Protected

15   Material. Notwithstanding this provision, Counsel are entitled to retain an archival copy of all

16   pleadings, motion papers, trial, deposition, and hearing transcripts, legal memoranda,

17   correspondence, deposition and trial exhibits, expert reports, attorney work product, and consultant

18   and expert work product, even if such materials contain Protected Material. Any such archival copies

19   that contain or constitute Protected Material remain subject to this Protective Order as set forth in

20   Section 4 (DURATION). In particular, attorneys for the United States may maintain copies of any

21   documents designated Confidential in their case file for this case, and may maintain copies of any

22   notes or summaries containing such Confidential Information in their case file for this case, subject

23   to 44 U.S.C. § 3101, et seq., and 5 U.S.C. § 552, et seq.

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 1   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

 2

 3   DATED: August 21, 2023

 4                                        PILLSBURY WINTHROP SHAW PITTMAN
                                          LLP
 5

 6                                        /s/ Dustin Chase-Woods
                                          Blaine I. Green
 7                                        Dustin Chase-Woods
                                          Ryan Selness
 8                                        Attorneys for Plaintiffs
 9

10                                        LAWYERS’ COMMITTEE FOR CIVIL
                                          RIGHTS OF THE SAN FRANCISCO BAY
11                                        AREA
12                                        /s/ Bree Bernwanger
13                                        BREE BERNWANGER
                                          Attorneys for Plaintiffs
14

15

16

17   DATED: August 21, 2023

18                                        ISMAIL J. RAMSEY
                                          United States Attorney
19
                                           /s/ Kelsey J. Helland
20                                        Kenneth Brakebill
                                          Kelsey J. Helland
21                                        Assistant United States Attorneys

22                                        Counsel for Defendant

23

24   PURSUANT TO STIPULATION, IT IS SO ORDERED.

25

26   DATED: August 25, 2023               _____________________________________
                                          HONORABLE DONNA M. RYU
27                                        Chief Magistrate Judge, U.S. Magistrate Court

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                                         15
                                         Case 4:22-cv-05333-DMR Document 60 Filed 08/25/23 Page 16 of 16




                                   1                                                 EXHIBIT A

                                   2                      ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

                                   3   I, _____________________________ [print or type full name], of _________________ [print or

                                   4   type full address], declare under penalty of perjury that I have read in its entirety and understand

                                   5   the Stipulated Protective Order that was issued by the United States District Court for the Northern

                                   6   District of California on [date] in the case of EDUARDO I.T., et al. v. UNITED STATES OF

                                   7   AMERICA, Case No. 4:22-cv-05333-DMR. I agree to comply with and to be bound by all the

                                   8   terms of this Stipulated Protective Order and I understand and acknowledge that failure to so

                                   9   comply could expose me to sanctions and punishment in the nature of contempt. I solemnly

                                  10   promise that I will not disclose in any manner any information or item that is subject to this

                                  11   Stipulated Protective Order to any person or entity except in strict compliance with the provisions

                                  12   of this Order.
Northern District of California
 United States District Court




                                  13   I further agree to submit to the jurisdiction of the United States District Court for the Northern

                                  14   District of California for the purpose of enforcing the terms of this Stipulated Protective Order, even

                                  15   if such enforcement proceedings occur after termination of this action.

                                  16   I hereby appoint __________________________ [print or type full name] of

                                  17   _______________________________________ [print or type full address and telephone number] as

                                  18   my California agent for service of process in connection with this action or any proceedings related

                                  19   to enforcement of this Stipulated Protective Order.

                                  20

                                  21   Date: ______________________________________

                                  22   City and State where sworn and signed: _________________________________

                                  23

                                  24   Printed name: _______________________________

                                  25

                                  26   Signature: __________________________________

                                  27

                                  28
